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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 CHARLES CRANFIELD, et al.,                          CASE NO. 1:16-CV-01273


                Plaintiffs,                          JUDGE CHRISTOPHER A. BOYKO


 -vs-
                                                     REPLY BRIEF IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION TO EXCLUDE
 STATE FARM FIRE & CASUALTY                          THE EXPERT TESTIMONY OF
 COMPANY,                                            HEATHER L. ALBRIGHT


                Defendant.


                                       INTRODUCTION

        State Farm admits the Albright expert report it is trying to use is ‘not statistically

representative.’ Defendant’s Brief in Opposition to Plaintiffs’ Motion to Excluded the Expert

Testimony of Heather L. Albright (“Brief”) at page 4 (“Albright did not opine that the sampling

was statistically representative of the broader population of putative class claims.”). For that and

other reasons, Plaintiff has therefore requested the Albright report be stricken for not meeting the

requirements of Rule 702. State Farm now responds as follows. First, it argues that Albright is

not trying to ‘opine’ on the class of 34,072, and rather is only making ‘anecdotal observations.’

(Id. at 5.) Second, State Farm insists that Albright’s report was never intended to, and in fact did

not, extrapolate from 149 claims to the cohort of 34,072 claims. Id. at 7. (“The purpose of my

review of the 149 claims was not to use it to make a conclusion or assessment of the entire

population.”). Third, State Farm complains that Albright is merely ‘helping’ the court understand

the insurance claims process at State Farm.


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       Each of those arguments fail under Rule 702, no matter how State Farm tries to spin them.

First, a person who is not by firsthand experience qualified in a particular field, like Albright here,

is not permitted to rely on “anecdotes” to testify as an expert. Anecdotes do not meet the Rule 702

scientific validity requirement. As the Sixth Circuit confirmed in Istvan v. Honda Motor Co., 455

Fed. Appx. 568 (6th Cir. 2011), scientific expert testimony is not, and may not be based on,

anecdotes, rather than probability. Id. at 572 (“The support for Gregorio’s opinion was merely

anecdotal, which is plainly not befitting of an expert’s opinion.”).

       Second, if Albright is not trying to use 149 files to extrapolate to the characteristics of

34,072, why does her report continuously do so?

       Third, how can Albright claim to be an expert on the operation of State Farm’s claims

process, when she admits no expertise of any kind in insurance matters, and had to consult with

State Farm’s personnel to even ‘understand’ the process. (“I was reviewing those claims just to

understand what kind of facts and circumstances are in the—the 149 claims and could exist for all

claims.”) Id. at 7.

       Unless based on expert’s own experience in the field, expert opinions must be expressed

in terms of probability, or it is not allowed. Carter v. McNaughton, 2018 WL 1616057, at *2

(N.D. Ohio 2018), citing Rorick v. Silverman, 2015 WL 9303125, *6 (S.D. Ohio Dec.12, 2015)

(“The expert’s opinion must be expressed in terms of probability, not possibility”); Lang v. Bobby,

2015 WL 1423490 (N.D. Ohio 2015) (“Ohio courts require expert opinions in civil cases to rise to

the level of probabilities before being admitted under Evid. R. 702.”). Instead, the wording

Albright uses in her entire report, and her admissions in deposition, are the stuff of speculation and

guesswork, with no anchor in probability nor in any of the other requirements of Rule 702.

(Written in terms of “might”; “could”; “I think”; “I can’t say” I know anything about the data;




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there “may” be; “presumably”; as further discussed below.). Albright is not an insurance expert,

having zero training or experience in adjusting insurance claims that could conceivably qualify her

to express experienced-based opinions in this context.

A.     Anecdotal Evidence Cannot be a Basis for Expert Opinions

       We could take State Farm’s attorneys at their word that Albright offers anecdotes rather

than expert opinion, and the matter would be done and her report does not come in. As was

explained by the Sixth Circuit in Istvan, anecdotes and reports based on them are not admissible,

since that is “plainly not befitting an expert’s opinion.” Istvan, 455 Fed. Appx. at 572.

       Plaintiffs have taken the matter one step further, however, to show this honorable court that

Albright is also doing what her lawyers claim she is not. Does Albright use 149 claims to try and

issue not anecdotes, but expert extrapolated opinions, on 34,072 claims? She does. Time and

again. Word games by State Farm fail to change that fact.

       Desperate to avoid the word “extrapolate,” Defendant’s Brief insists Albright is only

offering “anecdotal observations”: “Based on her analysis, including her anecdotal observations

and illustrations from within the sample claim files, Ms. Albright reached several conclusions.”

(Doc. No. 128, PageID No. 5368, emphasis added; see also, Page No. 5371 “nor are they the focus

of the anecdotal observations of Ms. Albright’s report.”)

       That gets them nowhere, and Rule 702 is not avoided by this word game. The Sixth Circuit

has specifically rejected such attempt to dodge Daubert requirements, warning that a claim the

opinion is only “anecdotal evidence” is a red flag that the opinion should be excluded: “Red flags

that caution against certifying an expert include reliance on anecdotal evidence, improper

extrapolation, failure to consider other possible causes, lack of testing, and subjectivity.” Newell

Rubbermaid, Inc. v. Raymond Corp., 676 F.3d 521, 527 (6th Cir. 2012) (emphasis added); Istvan,




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455 Fed. Appx. at 572 (“The support for Gregorio’s opinion was merely anecdotal, which is plainly

not befitting of an expert’s opinion.”).

        These cases undermine the entire premise of State Farm’s attempt to use Albright. An

expert renders “opinions,” not anecdotes. Istvan, 455 Fed. Appx. at 572 (“The support for

Gregorio’s opinion was merely anecdotal, which is plainly not befitting of an expert’s opinion.”).

        Those opinions must always be grounded in scientific reliability or experience in the

relevant field (here insurance claims adjustment) (Fed. Evid. R. 702) and the burden to establish

that, in the first instance, rests not on the opponent, but on the proponent—by competent, credible

evidence. “The proponent of expert testimony must establish all the foundational elements of

admissibility by a preponderance of proof.” Carter, 2018 U.S. Dist. LEXIS 57561, at *5-6

(citation omitted); Rauch, 2017 U.S. Dist. LEXIS 33187 at *6-7. By admitting Albright is merely

giving anecdotes, and is basing her conclusions on anecdotes, her report is inadmissible.

        This rule is well-known in the Northern District of Ohio. Hamilton v. Menard, Inc., Case

No. 3:10 CV 1997, 2012 U.S. Dist. LEXIS 139519, *19 (N.D. Ohio Sept. 27, 2012) (“A trial court

must watch for certain ‘red flags,’ those things which, if present, may caution against certifying a

witness as an expert. These ‘red flags’ include ‘reliance on anecdotal evidence, improper

extrapolation, failure to consider other possible causes, lack of testing…subjectivity…[and] if a

purported expert’s opinion was prepared solely for litigation.’”) (citing and quoting Newell, 676

F.3d at 527) (emphasis added). Defendant concedes that Albright relies on anecdotal evidence, so

itself has raised this red flag for the Court.

B.      State Farm’s Brief Reiterates that Albright Extrapolates From the Sample

        As explained above, not only are ‘opinions’ based on anecdotes inadmissible. Equally

inadmissible are those that use ‘extrapolation’ (a scientific process) without demonstrating the




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scientific method followed. This is known as “improper extrapolation,” and is another “red flag”

cautioning against admitting an expert’s opinions. Newell, 676 F.3d at 527 (“Red flags that caution

against certifying an expert include …. improper extrapolation.”) (emphasis added).

       Does Albright not only offer wide ranging ‘anecdotes’ (which are not proper basis for

expert opinion in the first place), but also repeatedly try to opine and conclude what 149 files

‘show’ about 34,072? She does and does repeatedly. The report is inadmissible for that reason,

also. Please note that State Farm tries mightily to claim otherwise, as does Albright, since it is not

disputed that if such extrapolation occurs, it requires criteria Albright admits she did not obtain,

and does even not know.

       First, therefore, let us look to confirm what was done. And that is not difficult, because it

appears repeatedly, throughout her report.

       As State Farm’s counsel admits: “She…offered opinions based upon her review and her

experience as to the individualized factual analysis involved in determining whether each putative

class member’s claim – as is alleged by Plaintiffs – was underpaid by Defendant and whether each

putative class member suffered an injury.” (Doc. No. 128, PageID No. 5364, emphasis added.)

       The Brief further summarizes her extrapolations from 149 to 34,072:

       In addition, she concluded that it is not possible to accurately and reliably determine
       if a policyholder [and there are 34,072 of them at issue here] (i) received an initial
       payment with no deduction for labor or other non-material depreciation; (ii)
       received payments up to the applicable policy limit; or (iii) received payments that
       were sufficient to complete the repairs, solely by using extracted estimate and claim
       payment data.

(Doc. No. 128, PageID No. 5368, emphasis added.)

       State Farm further states: “Moreover, Ms. Albright opined that the time required to review

and analyze each claim file across the putative class [again, 34,072] could be significant – and that




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Plaintiffs have shown no reliable way to identify injury or damages absent such a review.” (Id.,

emphasis added.)

       Equally clear, Defendant admits that the quotes from her report in the Motion, (Doc. No.

119-1, PageID No. 4626-28), demonstrate extrapolation by Albright from the 149 sample to the

cohort of 34,072 (Doc. No. 128, PageID No. 5371.)

       [A] review of each potential class member’s claim file would be extraordinarily
       time-consuming. Across the potentially relevant population of approximately
       34,000 claims identified in the Data Report, a conservative estimate of the time to
       review the remaining claims would be approximately 16,000 hours. This equates
       to one person working 40 hours a week for nearly 3 years in order to do an initial
       review of the population claim files.

(Doc. No. 119-2, PageID No. 4646-47.)

       The question therefore becomes, did she follow Rule 702 and Daubert in reaching her

opinions and offering them to the court. As admitted by Albright herself, she did not. She admits

that her report is not merely inadmissible ‘anecdotes, but an attempt at expert extrapolation;

without however any of the verification required by Rule 702 and Daubert. Under Rule 702, her

report must be excluded. 1

C.     Albright Needed to Verify the Sample’s Validity and Reliability

       Defendant claims that since Albright only offered anecdotes, Rule 702 requirements on

statistical accuracy, sampling, and methodology do not apply. As explained above, anecdotes,

themselves, are not admissible, nor proper basis for expert opinion. Further, as illustrated above,

Albright repeatedly went far beyond anecdotes and rather attempted to opine about extrapolation

from 149 transactions to 34,072.




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  Defendant also ignores that Albright has no experience adjusting claims, in the insurance
industry, or with Ohio insurance requirements and controlling regulations and precedent. (Doc.
No. 119-1, PageID No. 4628-29 and 4635.)


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       So how did she get there? Did she comply with Rule 702 and Daubert? Her report does

not show any such compliance, and in her deposition, Albright admitted (which we quoted at

length in the Motion to Exclude) that she did not. She did provide the data she used. The data was

obtained from someone else she knows nothing about and who Defendant has not shown was an

expert in any field. Albright did not verify anything she received. In reaching her opinion she was

compelled to admit she did not comply with any of the requirements of Rule 702 and Dauber. And

she concedes she does not know (or even claim) that the data, the sample, her extrapolations, or

any aspect of her report meets the requirement of Rule 702.

       Q.      What do you know about Ms. Mada in terms of her background?

       A.      I can’t say that I do. I just know she pulled the – pulled – identified –
       sorted the claim – a list of claims that were produced in this matter using a random
       number generator in order for the 149 claims to be identified that were I would
       assume the PDF claim files for those 149.
                    *                         *                        *
       Q.      So in paragraph 2, number 2 in that paragraph, you say, ‘provide a
       summary and explanation of my review and analysis of a random sampling of 149
       structural damage insurance claims.’ Do you see that, ma’am?

       A.      Yes.

       Q.      How – how was that random sample selected?

       A.      So, as I said, I spoke to Debbie Mada, the person at State Farm who
       randomly assigned a number to each a list of claims that were produced in this
       matter. So from what I understand, she received a list of claim numbers that
       were produced by – that were covered in the production. I think these are the
       claim numbers that were in the data report, as I refer to it in my report. And she
       assigned a random number using a SAS program to each claim, and the first – the
       first 149 that were assigned are the claims that I received and reviewed.
                           *                        *                        *
       Q.      Did you do anything to test whether the sample that you were provided
       was representative of the population as a whole?

               MR. KAHN: Objection. Form.

       A.      No, I did not. Other than I, as I said, spoke to the woman who pulled the
               sample to conclude that it was that randomly selected sample of claims.



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       Q.      Did you ask her whether or not she made any effort to determine whether
       or not the sample you were provided was representative of the population as a
       whole?

       A.     No, I did not.

       Q.     Do you know if she had any background in statistics?

       A.     I do not know.

       Q.     Did you calculate any confidence intervals with respect to the results of
       your sample review?

       A.     No, I did not.

       Q.     Did you attempt to determine what the margin of error was with respect to
       your sample analysis?

              MR. KAHN: Objection. Form.

       A.     No, I did not.

       Q.     Did you do any statistical analysis to determine whether or not the sample
       size was large enough to support the notion that looking at the sample was
       productive – predictive, rather, of the population as a whole?

       A.     No, I –

              MR. KAHN: Objection. Form.

       Q.     You can answer.

       A.      No, I did not.
                            *                      *                        *
       A.      As we talked about this morning, I did not come up with or determine
       a statistically significant sample, which is what you are talking about, that could
       be used to make conclusions about this population. This was simply a random
       sample.
(Albright Dep., 30:4-12; 42:4-23; 47:21-48:21; 128:18-23, emphasis added.)

       An expert cannot adopt another’s data without verifying its validity and reliability. York

v. Starbucks Corp., Case No. CV 08-07919 (PJWx), 2011 U.S. Dist. LEXIS 155682, *41 (C.D.

Cal. Nov. 23, 2011).    By failing to address this basic tenet for expert opinions, Defendant has



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failed to prove the verification, validity, or reliability of the sample. (Doc. No. 119-3, Albright

Dep., 30:4-12; 42:4-23; 47:21-48:21; 128:18-23.)

       “Sampling is a methodology based upon inferential statistics and probability theory.”

Duran v. U.S. Bank Nat’l Assn., 59 Cal. 4th 1, 38, 325 P.3d 916, (Cal May 29, 2014). “The essence

of the science of inferential statistics is that one may confidently draw inferences about the whole

from a representative sample of the whole.” In re Chevron U.S.A., Inc., 109 F.3d 1016, 1019-20

(5th Cir. 1997). “‘[I]nferences from the part to the whole are justified [only] when the sample is

representative.’” Duran, 59 Cal. 4th at 38 (citation omitted) (emphasis in original). In addition,

the sample size cannot be too small. Duran, 59 Cal. 4th at 42. The trial court must “determine

that a chosen sample size is statistically appropriate and capable of producing valid results within

a reasonable margin of error.” Id. None of that exists here.

       Defendant responds by arguing that other courts have approved the ‘SAS’ system that

Albright “thinks” Mada used as a random sample. (Doc. No. 128, PageID No. 5372.) That does

not cure the failure to validate, assign confidence intervals, show margin of error, etc. Albright

admits none of that was done. In fact, the cases cited by State Farm to claim that saying an “SAS”

was used is all that is needed, U.S. ex rel. Martin v. Life Care Ctrs. of Am., Inc., Case No.1:08-cv-

251, 2014 U.S. Dist. LEXIS 142657 (E.D. Tenn. Sept. 29, 2014) and San Bois Health Servs. v.

Hargan, Case No. CIV-14-560-RAW, 2017 U.S. Dist. LEXIS 183406 (E.D. Okla. Nov. 6, 2017)

say nothing of the sort. Rather they actually require excluding Albright’s opinions. In Martin,

the person operating the SAS was a PhD in statistics and “authored approximately 120 publications

related to statistical sampling.” Martin, 2014 U.S. Dist. LEXIS 142657, at *14. That expert

explained how he selected the sample. Id., at *19. That expert “considered whether a sample size

of 400 was sufficient and later ‘conducted a number of simulations that show a sample size of 400




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is likely to yield estimates that meet or substantially exceed established auditing standards.’” Id.,

at *39. None of this was done here, and all of that analysis is completely are missing from

Albright’s report and testimony.

        San Bois likewise would exclude Albright as an expert. The San Bois court explained that

to allow opinion using the SAS program, a seed value is needed: “The SURVEYSELECT

procedure, when used for this and similar purposes [generate random numbers], requires a positive

integer commonly referred to as a ‘seed value’ in order to initialize the routine to generate the

random numbers.” San Bois, 2017 U.S. Dist. LEXIS 183406, at *14. The San Bois expert provided

an SAS log confirming the seed value. Id. They also explained the process used to derive the

sample. Id., at *14-15. Finally, the party offered a qualified statistician’s expert opinion that the

sampling was done correctly. Id., at *16. Again, none of this occurred here.

        Perhaps most telling of all is that Defendant offered no affidavit of Mada explaining her

qualifications to run SAS, her experience in using SAS, whether she is statistician, whether she

conducted simulations to establish that a sample size of 149 is valid and reliable, the process she

used to derive the sample, or the seed value she used. Just the opposite, the only way we even

know that “Mada” (whoever that even is) exists is the passing comment that someone named

“Mada’ gave Albright what she ‘thinks’ was the data used in the claims report. She does not even

know that but admits she only “assumes” it. (Albright Dep., 30:4-12; 42:4-23; 47:21-48:21;

128:18-23.)

        By offering no evidence on these issues, Defendant has entirely failed to carry its burden

to use Albright’s report.

D.      Plaintiffs Raises More than Theoretical Objections to the Report

        Defendant recognizes the various Daubert defects in Albright’s report, including her




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threshold failure to establish: 1) a valid representative (not merely random) sample (she provides

none); 2) opinions offered based on expertise in the relevant field (she admits having none); and

3) accepted methods for offering the opinions tendered (she admits not following any). Defendant

tries to skirt these deficiencies by insisting that Plaintiffs have the burden to establish the

deficiencies in Albright’s report, and failed to do so. (Doc. No. 128, PageID No. 5372, fn 3.)

Defendant is wrong on both counts. First, Defendant’s argument is contrary to well-established

law that Defendant as the party offering Albright has the burden to prove that Albright’s opinions

meet the admissibility requirements of Fed. R. Evid. 702. See Carter, 2018 U.S. Dist. LEXIS

57561, at *5-6. Second, Plaintiffs have pointed directly to the multiple, specific deficiencies in

this report. Plaintiffs challenge Albright as qualified at all, on this matter.

        Thus, it is disturbing when State Farm falsely states that “Plaintiff does not challenge

Albright’s qualifications.” That is completely untrue. Plaintiffs specifically challenge Albright as

having any ability as an expert in these matters. We challenge, wholesale, her ability to provide

‘expert opinions’ on the proper treatment of 34,072 claims by looking at 149 files that no one

verified and that are admitted to fail any showing of scientific or statistical significance to the

larger cohort. Defendant could have offered further information and testimony, IF same existed,

to create the necessary record of at least the fundament for an opinion. It did not.

        And the cases Defendant cites on this issue do not rescue Albright from these failures.

Two of the cases (to try to assert Plaintiffs have the burden) do not involve motions to exclude

expert testimony. They are cases dealing with experts stipulated by the parties, using scientific

methodology not questioned. They question, in employment discrimination suits, whether certain

variables are proper to identify discrimination. See Barnes v. Gencorp., Inc., 896 F.2d 1457, 1461

and 1467 (6th Cir. 1990); Capaci v. Katz & Besthoff, Inc., 711 F.2d 647, 651 (5th Cir. 1983). The




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other case cited by State Farm also does not state what Defendant asserts (Doc. No. 128, PageID

No. 5372, fn. 3.), that Plaintiffs have the burden of proving that the sample is flawed. The case

notes that an opinion by a statistical expert, otherwise competent and reliable, will not be overcome

by unspecified challenges. See In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F. Supp.

3d, 430, 527 (S.D.N.Y. 2018) (“Exchange plaintiffs do not explain which statistical tests conducted

by Dr. Willig are rendered flawed by small sample sizes, and we decline to speculate.”).

       In contrast, here the deposition of the expert, without being refuted by Defendant, confirms

that Albright “did not: (1) make any effort to determine whether the sample was representative of

the population as a whole; (2) calculate any confidence intervals regarding the results of her sample

review; (3) determine the margin of error regarding the sample analysis; and (4) do a statistical

analysis to determine whether the sample size was large enough to support the notion that looking

at the sample was predictive of the population as a whole.” (Doc. No. 119-1, PageID No. 4632.)

Defendant also offers no evidence that the sample avoids “selection biases.” (Doc. No. 119-1,

PageID No. 4633.) Plaintiffs note (which State Farm does not dispute) that: “It [sampling in

statistics] involves analyzing the distribution of key variables in the population compared to the

sample and considering standard deviations; confidence intervals; chi-square testing; etc. — none

of which Albright indicates even a shred of understanding.” Id. These are more than theoretical

objections – they are specific examples of the issues with Defendant’s sample, which Defendant

does not rebut. The Albright sample and her report and conclusion relying on it do not comply

with Rule 702 or Daubert. 2


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  In addition, Defendant argues that courts have allowed small sample sizes. (Doc No. 128, PageID
No. 5372, fn. 3.) That is not the issue. It is proof in the record of the relationship between the
sample and the cohort. And very small samples, without more, have been rejected. See Conley
v. U.S. Bank Nat’l Ass’n, 211 Fed. Appx. 402, 407 (6th Cir. 2006) (“The district court was correct
that this small sample size gives Conley’s statistics little or no probative value.”); Simpson v.



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E.      Plaintiffs are not Contesting the File-By-File Review, But Rather the Sample on
        Which Albright Reaches Her Extrapolated Opinions

        Contrary to Defendant’s argument, Plaintiffs are not challenging the file-by-file review

methodology. (Doc. No. 128, PageID No. 5373-74.) Rather, Plaintiffs assert Albrights 149 sample

is invalid and unreliable for her to make her extrapolated opinions on what would be found in other

files; how long it would take to review the entire cohort; what the spreadsheets ‘lack’ (when they

are not the sole items that State Farm and other carriers used to successfully identify, calculate and

pay refunds, for example, in other labor depreciation cases); and the like.

        Finally on the random case law cited by State Farm that Albright and her report are proper,

those cases did not challenge the witness in the first place. See Nguyen v. St. Paul Travelers Ins.

Co., Case No. 06-4130, 2008 U.S. Dist. LEXIS 88288 (E.D. La. Oct. 22, 2008) (no Daubert

challenge to defendant’s expert witness); Dennington v. Defendant Fire & Cas. Co., Case No.

4:14-cv-004001, 2016 U.S. Dist. LEXIS 200565, *9 (W.D. Ark. Aug. 24, 2016) (plaintiffs

challenged only that the expert had Defendant’s adjusters participate in the review). These cases

do nothing to undermine the fact that Albright and her report fail virtually all requirements for

Rule 702 expert opinions.

        As a side note, Defendant’s reference to state departments of insurance using file reviews

is misplaced and extraneous to Plaintiffs’ arguments. (Doc. No. 128, PageID No. 5374.) How

does that have anything to do with Albright offering expert testimony?)




Midland-Ross Corp., 823 F.2d 937, 943, fn 7 (“A number of courts have recognized that small
statistical samples provide little or no probative force”); Schoonmaker v. Spartan Graphics
Leasing, LLC, 595 F.3d 261, 267 (6th Cir. 2010); Brocklehurst v. PPG Indus., 123 F.3d 890, 897
(6th Cir. 1997).


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F.      Albright’s Opinions that Accounting, Tax, and Appraisal Industries Depreciate
        Labor and Non-Material Costs are Irrelevant

        Defendant contends that since the Sixth Circuit concluded that Defendant’s policy is

ambiguous, the fact that accounting, tax, and appraisal industries depreciate labor and non-material

costs is relevant to interpreting the policy. (Doc. No. 128, PageID No. 5376-78.) But the Sixth

Circuit did more than just conclude that Defendant’s policy is ambiguous. It then construed the

policy against Defendant and held as a matter of law that the policy does not allow for the

depreciation of labor and non-material costs. Perry v. Allstate Indem. Co., 953 F. 3d 417, 423 (6th

Cir. 2020):

        Because Perry’s interpretation of ‘depreciation’ is a fair reading of an ambiguous
        term, her interpretation prevails against the insurer. We accordingly hold as a
        matter of law that it was improper for Allstate to depreciate labor costs to
        arrive at its net payment to Perry for the damage to her home.

(emphasis added.)

        The Sixth Circuit doubled-down on this holding in Cranfield v. State Farm Fire & Cas.

Co., 798 Fed. Appx. 929, 930 (6th Cir. 2020), when it concluded that Defendant’s policy does not

expressly provide for depreciation of labor costs:

        We recently resolved this issue in Perry v. Allstate Indem. Co., 953 F.3d 417, 2020,
        WL 1284960 (6th Cir. Mar. 18, 2020). In Perry, we held that an Ohio insurer
        may not deduct the cost of labor depreciation pursuant to an actual cash value
        insurance policy that does not expressly provide for such deductions. 2020 U.S.
        App. LEXIS 8555, [WL], at *4. Because Cranfield’s policy with Defendant did
        not expressly provide for labor-cost depreciation deductions, Perry commands
        the same result here.

(emphasis added.) Albright’s ‘opinions’ about accounting, tax, and auditing professions are not

only irrelevant, they conflict with the decision and mandate in this case and may not be offered.

See Nordson Deutschland Gmbh v. Ins. Co. of the State of Pennsylvania, 156 F.Supp.3d 894, 897

(N.D. Ohio 2016) (an expert “cannot pass on questions of law”); In re Diet Drugs, 2001 WL




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454586, at *17–18 (E.D. Pa. 2001) (finding that opinion by regulatory expert that contradicted law

was inadmissible).

       Furthermore, the cases relied on by Defendant to argue that experts can opine on

accounting and appraisal fields have nothing to do with using such experts in labor depreciation

cases. (Doc. No. 128, PageID No. 5375.) The Sixth Circuit’s two holdings that labor depreciation

is not permitted in this context make tax and accounting opinions immaterial. Also, the cases cited

by State Farm involved tax and accounting issues and claims, a far cry from this insurance case.

See Robson v. Duckpond Ltd., Case No. 4:19-cv-01862-SRC, 2021 U.S. Dist. LEXIS 63278 (E.D.

Mo. March 31, 2021) (case involving the valuation of a company’s stock in a dispute over the

buyout of that company); Avomeen Holdings, LLC v. Thanedar, Case No. 17-cv-13703, 2019 U.S.

Dist. LEXIS 128495 (E.D. Mich. Aug. 1, 2019) (dispute over the purchase of a company and the

valuation of the company); In re Longtop Fin. Techs. Sec. Litig., 32 F. Supp. 3d 453 (S.D.N.Y.

2014) (securities litigation). They do not stand for the proposition that it is appropriate for an

expert to testify on tax and accounting principles to interpret an insurance policy. Defendant’s

citation to Dennington is also meaningless in light of the Sixth Circuit holdings. Indeed, the

Dennington court noted specifically, “The question of whether labor was improperly depreciated

is a legal question upon which this court has yet to make a decision.” Dennington, 2016 U.S. Dist.

LEXIS 200565, at * 7. The legal question of whether State Farm “improperly depreciated” labor

has been definitively answered here by the Sixth Circuit, so Albright’s opinions are irrelevant.

                                         CONCLUSION

       For the foregoing reasons and those demonstrated in Plaintiffs’ Motion, Defendant has

failed to satisfy its burden of establishing that Albright’s opinions are admissible under Fed. R.

Evid. 702. Therefore, they should be excluded.




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         I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

and paper copies will be sent to those indicated as non-registered participants today (May 27,

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